

People v Mitchell (2020 NY Slip Op 05230)





People v Mitchell


2020 NY Slip Op 05230


Decided on September 30, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 30, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
JOHN M. LEVENTHAL
JOSEPH J. MALTESE
PAUL WOOTEN, JJ.


2011-05515
 (Ind. No. 233/10)

[*1]The People of the State of New York, respondent,
vDamon Mitchell, appellant. Damon Mitchell, Stormville, NY, appellant pro se.


Michael E. McMahon, District Attorney, Staten Island, NY (Morrie I. Kleinbart of counsel), for respondent.
Janet E. Sabel, New York, NY (Lawrence T. Hausman of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated September 10, 2014 (People v Mitchell, 120 AD3d 1265), affirming a judgment of the Supreme Court, Richmond County, rendered May 4, 2011.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., LEVENTHAL, MALTESE and WOOTEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








